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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                     Case No. 3:20-cr-86-TJC-JBT

JORGE PEREZ, et al.


          UNITED STATES’ OPPOSITION TO DEFENDANT
       AARON DURALL’S MOTION TO BAR THE GOVERNMENT
      FROM INTRODUCING EVIDENCE OR FOR A CONTINUANCE

      The Government hereby submits this opposition to Defendant Aaron Durall’s

Motion to Bar the Government from Introducing Evidence at Trial that Amounts to

a Prejudicial Variance or Constructive Amendment of the Indictment, or, in the

Alternative, for a Continuance of the Trial to Enable Defendant Aaron Durall to

Prepare for the Government’s Belated Announcement of a New Theory to Prove

Fraud and Money Laundering (Doc. 620). Durall’s hyperbolic claims that the

Government has radically changed its fraud and money laundering theories are far

off the mark, and do not merit either a restriction of the Government’s evidence or a

continuance.

      A.       The Government Has Not Announced a New Fraud Theory

      Durall seizes on a footnote in the Government’s opposition to Sean Porter’s

Motion in Limine (Doc. 595 at 4, n.3) to claim that the Government has decided to

advance an entirely new and different theory of fraud as to him, amounting to a

constructive amendment of the indictment. See Doc. 620 at 2-3 (citing the footnote
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alone to claim that the government’s theory of fraud “is something entirely

different”). The Government has done no such thing. The Government simply

referred to evidence that one of the four hospitals through which the fraudulent

billing scheme was perpetrated, Chestatee Regional Hospital, was capable of

performing more testing than the other three hospitals.1 Moreover, the Government

will present evidence at trial that Reliance Labs, which sent urine samples to

Chestatee to be tested, was capable of testing, and did test, all the samples that had

initially been referred to it from sources such as treatment centers and sober homes

— meaning Reliance had no “overflow” testing that it needed to refer to Chestatee

for either qualitative or quantitative testing. Defendant Durall has known this

evidence existed since the Government made its initial discovery production in 2020,

as it is contained in reports of witness interviews the government turned over in its

initial discovery production.

       In presenting evidence that Reliance could test every sample sent to it, which

supports an inference that samples Reliance sent to Chestatee for testing had already

been tested at Reliance, the Government is not offering a new theory of fraud as to

Durall. The Government’s fraud theory has been consistent throughout — and is

fully comprehensible to Durall — as Durall’s recitation of the Indictment and the



1
 Regrettably, the Government realized, upon reviewing Defendant Durall’s motion on April 26,
that it had made an error in the footnote, which it now brings to the Court’s attention and corrects.
The Government stated that Chestatee only billed for qualitative (positive/negative) drug screening,
whereas in fact billing data shows that Chestatee billed for quantitative (confirmatory) testing as
well. The point remains, though, that Chestatee had capacity to perform substantially more testing at
the hospital lab than the other three hospitals, CGH, RGH and Putnam.

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various pleadings outlining the government’s fraud theory shows (Doc. 620, at 5-10).

The fraud involved falsely submitting claims through the rural hospitals for testing

that was mostly performed at independent laboratories, and in submitting claims for

medically unnecessary testing. See Durall’s Motion, Doc. 620, at 9 (quoting from

Doc. 477, Government Memorandum Opposing Durall’s Renewed Motion for a Bill

of Particulars).

       At no time did the Government assert that every single test billed through the

rural hospitals was performed at an outside laboratory. To the contrary, beginning

with the Superseding Indictment, the theory has been that some testing was indeed

performed at the hospitals. See Superseding Indictment ¶ 37l (alleging that the

defendants caused fraudulent claims to be submitted through the rural hospitals in

order to capture their high in-network reimbursement rates, rather than receive the

far lower reimbursements that would have been paid to the independent, out-of-

network labs “where most of the testing took place”) (emphasis added);

Government’s Opposition to Defendants Fletcher and Durall’s Motion to Dismiss

(Doc. 224), at 4 (fraud involved submitting claims under hospitals’ NPI and Tax ID

numbers, and omitting “any mention of the independent labs where much of the

actual testing took place”) (emphasis added); Government’s Opposition to Porters’

Motion to Dismiss (Doc. 276), at 1-2 (fraud involved “false submission of claims as if

services were performed by the hospitals coupled with the omission of any mention

of the independent, non-network labs as the locus of most of the testing”) (emphasis

added); United States’ Memorandum Opposing Durall’s Renewed Motion for a Bill
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of Particulars (Doc. 477), at 1 (fraud involved representing that testing was

performed at rural hospitals “when in fact most of the testing was performed at outside

laboratories”) (emphasis added).2

       This fact, which has never been in dispute, is in no way inconsistent with the

Government’s fraud theory: the evidence will show that over the entire span of the

conspiracy encompassing the serial use of four hospitals to carry out the scheme, the

defendants billed and were paid primarily for testing that the hospitals could not and

did not do and that on the whole lacked medical necessity, thereby making repeated

material misrepresentations in order to obtain money to which they were not

entitled.

       Importantly, Durall did not just participate in the scheme in connection with

Chestatee. The evidence will show that starting in 2015, long before he purchased

Chestatee to further the urine drug testing and blood testing scheme, Reliance was

performing quantitative (confirmatory) urine drug tests that were fraudulently billed

to insurers through Campbellton-Graceville Hospital (“CGH”) as though they had

been performed at CGH. CGH had no ability to perform a quantitative

(confirmatory) urine drug test. The suggestion that the Government has upended its

entire theory of how Durall and other defendants carried out the fraud fails to take



2
 For this reason, Durall is wrong in suggesting that the Government changed its theory of
prosecution when the defense revealed that it had been able to download information from a
Campbellton-Graceville Hospital server purportedly showing 80,000 test results for urine tests
performed at the hospital. Doc. 620, at 10. Any evidence that tests were performed at CGH or any
other hospital is not “exculpatory,” because the Government has never alleged anything to the
contrary.

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into account the larger picture of the multi-year conspiracy alleged in the

Superseding Indictment.

      To return to the footnote Durall focuses on, it merely notes that Chestatee

performed more testing than the other three hospitals, where billings were far more

heavily weighted toward quantitative urine drug tests and other types of tests that

those hospitals could not and did not perform. And it alludes to evidence the

Government will present showing that the construct of using a rural hospital lab like

Chestatee’s as a “reference lab” to perform and bill for tests that some other lab (i.e.,

Reliance) could not perform on its own is false, artificial, and part of the larger

overall scheme to use the rural hospitals as billing “shells” to fraudulently obtain in-

network reimbursements. The Government is not advancing a new theory that

Durall and Durall alone engaged in the fraud through “double testing” at Reliance

and Chestatee. Put simply, the Government described a piece of its proof that is

entirely consistent with its overall theory about how Durall and other defendants

used rural hospitals. There is no basis for preemptively excluding this evidence before

the Government has even offered it due to a concern about constructive amendment,

or giving Durall a continuance to enable him to respond.

      Durall has known about this evidence since 2020 when it was originally

disclosed in discovery. The relevance of this evidence to counter an anticipated

defense became increasingly pertinent when Durall announced during the April 5

Status Conference that he now has evidence via the Lab Information System (LIS)

from all four hospitals showing the tests that were run at all four hospitals. The
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defense even noticed a new expert, Daniel Simao (a former Empower HIS employee,

which was not included in the expert notice, Doc. 550) as the individual who will

testify about the LIS systems. It was not until Friday, April 22 that defense counsel

provided this material to the government. Thus in response, the Government expects

to introduce evidence that Reliance Labs tested every sample that it received (both

qualitative and quantitative tests), had no “overflow” testing in need of a “reference

lab,” and that Reliance and the other independent labs had Virtual Private Network

(VPN) access to the hospital LIS systems to upload test results, ostensibly making it

appear that the hospitals were running the more expensive quantitative tests —

which the hospitals overwhelmingly could not run.

      Thus, even with the eleventh hour disclosure by the defendants of the hospital

LIS systems, the fraud theory remains the same — the defendants tested specimens

at independent labs and billed as if the testing was performed at the small rural

hospitals. This evidence of the capacity of the independent labs to test (when

compared to the unsophisticated hospital labs) is a factual underpinning of the

defendants’ shell game to make material misrepresentation and omissions in the

billing to fraudulently bill insurance companies to gain wealth.

      B.     There is No New Predicate Offense for Money Laundering

      Durall contends that the Government introduced a new money laundering

theory in its Opposition to Aaron Durall’s Renewed Motion to Strike Surplusage

(Doc. 596), specifically, that the Government would rely on predicate offenses not

alleged in the Superseding Indictment. See Doc. 610, at 3-4. The argument reflects
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confusion of the requirement that the defendant know the property involved in a

financial transaction represented the proceeds of “some form of unlawful activity”

with the distinct requirement that the financial transaction in fact involve the

proceeds of “specified unlawful activity” (SUA). See Eleventh Circuit Criminal

Pattern Jury Instruction O74.1 (for promotional money laundering, government

must separately prove the defendant knew the property was the proceeds of some

kind of unlawful activity, and that the property did come from the specified unlawful

activity alleged in the indictment) (emphasis added). The “unlawful activity” that

generated the proceeds may be a felony violation of federal, state, or foreign law, see

18 U.S.C. § 1956(c)(1), whereas the crimes that qualify as SUA are specifically

delineated in the statute. Id. § 1956(c)(7).

       The Government explained in its response to the surplusage motion that the

allegation of kickbacks contained in the Superseding Indictment is relevant both to

the health care and wire fraud conspiracy charge and to the money laundering

charges, the latter of which involve conspiracy and substantive counts. Doc. 596, at

2-3. The Government further explained how the payment of kickbacks is relevant to

the money laundering charges (and consequently not surplusage): the payment of

kickbacks to induce referrals to a health care facility was illegal under Florida law,

and therefore the Government can prove knowledge that the proceeds derived from

“some form of unlawful activity” by proof that the defendant knew the proceeds

derived from violation of the Florida anti-kickback law. This element is different

than the requirement that the Government prove that the proceeds actually derived
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from SUA (which Durall refers to as “predicate offenses”) and which are alleged in

the Superseding Indictment to be conspiracy to commit health care fraud and wire

fraud, and health care fraud. See United States v. Montague, 29 F.3d 317, 322 (7th Cir.

1994) (defendant knew proceeds derived from state prostitution offense; SUA was

Travel Act). There is no allegation in the Superseding Indictment of the form of

unlawful activity the defendants are alleged to have known generated the proceeds,

and thus the Government satisfying this requirement with knowledge that the

proceeds were a violation of the Florida anti-kickback law introduces no amendment

to the Superseding Indictment.

      WHEREFORE, for the foregoing reasons, the government respectfully

requests that Durall’s motion be denied.


                                           Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that, on April 28, 2022, a true and correct copy of the foregoing

was filed and served on all counsel via the CM/ECF system.


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